
77 So.3d 843 (2012)
David Ferrer LESCAILLE, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-3042.
District Court of Appeal of Florida, Third District.
January 11, 2012.
Rehearing Denied February 6, 2012.
David Ferrer Lescaille, in proper person.
Pamela Jo Bondi, Attorney General, for appellee.
*844 Before SHEPHERD, CORTIÑAS, and LAGOA, JJ.
PER CURIAM.
Affirmed. See Little v. State, 77 So.3d 722, 2011 WL 5554812 (Fla. 3d DCA 2011), and cases cited therein.
